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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

ROB COLLINS,                                   )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )           Case No. CIV-20-1293-G
                                               )
SCOTT CROW et al.,                             )
                                               )
       Defendants.                             )

                                           ORDER

       Plaintiff Rob Collins, appearing through counsel, filed this federal civil rights action

on December 28, 2020. See Compl. (Doc. No. 1). In accordance with 28 U.S.C. §

636(b)(1), the matter was referred to Magistrate Judge Suzanne Mitchell for preliminary

review.

       On April 12, 2021, Judge Mitchell issued a Report and Recommendation (Doc. No.

10), in which she recommended that Defendants’ Motion to Dismiss (Doc. No. 8) be

granted due to Plaintiff’s failure to failure to state a claim upon which relief can be granted.

In the Report and Recommendation, Judge Mitchell advised Plaintiff of his right to object

to the Report and Recommendation by April 26, 2021. Judge Mitchell also advised that a

failure to timely object would constitute a waiver of the right to appellate review of the

factual findings and legal conclusions contained in the Report and Recommendation.

       As of this date, Plaintiff has not submitted an objection to the Report and

Recommendation, or sought leave for additional time to do so, and has not moved to amend

his pleading.
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                                      CONCLUSION

      Accordingly, the Report and Recommendation (Doc. No. 10) is ADOPTED as to its

recommendation of dismissal due to failure to state a claim upon which relief can be

granted. Defendants’ Motion to Dismiss (Doc. No. 8) is GRANTED, and this action is

DISMISSED without prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6). A

separate judgment shall be entered.

      IT IS SO ORDERED this 5th day of May, 2021.




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